      Case 1:15-cv-00203-LG-RHW Document 93 Filed 12/08/17 Page 1 of 1



               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION

DENNIS O’NEAL LEE                                                     PLAINTIFF

v.                                                CAUSE NO. 1:15CV203-LG-RHW

CHRISTOPHER EPPS, et al.                                           DEFENDANTS

                                   JUDGMENT

      This matter having come on to be heard on the Proposed Findings of Fact and

Recommendation [89] entered by United States Magistrate Judge Robert H.

Walker, the Court, after a full review and consideration of the Proposed Findings of

Fact and Recommendation, the pleadings on file, and the relevant legal authority,

finds that in accord with the Order entered herewith,

      IT IS ORDERED AND ADJUDGED that the Proposed Findings of Fact

and Recommendation [89] entered by United States Magistrate Judge Robert H.

Walker, be, and the same hereby is, ADOPTED as the finding of this Court. This

lawsuit is DISMISSED WITH PREJUDICE.

      SO ORDERED AND ADJUDGED this the 8th day of December, 2017.



                                             s/   Louis Guirola, Jr.
                                             LOUIS GUIROLA, JR.
                                             UNITED STATES DISTRICT JUDGE
